Case 6:14-cv-01249-PGB-T_S Document1 Filed 08/01/14 Page 1 of 8 PagelD 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

 

 

 

 

 

 

_ Orlando _ Division
CIVIL RIGHTS COMPLAINT FORM
Lada SNenander LIMITE CASE NUMBER: _(y14-QV7 (249 -oly -49
(To be supplied by Clerk's Office)
82014 C000 SS \U NEL COMOLAINT
et
(Enter full name of each Plaintiff and
prisoa number, if applicable)
Vv.
Seragork FREDEQIUML
Dana — ESUNGEM
SEMINOLE COUNTY, FLORIDA | 2
cs

 

(Enter full name of each Defendant.
If additional space is required, use the _

blank area directly to the right). Lo
/ ~

 

ANSWER ALL OF THE FOLLOWING QUESTIONS:

PLACE OF PRESENT CONFINEMENT: Soba ©. Dl Correctional Fachty Zi Sus Blud
(Indicate the name and location)
_ Suntord, FL $2773

 

HW. EXHAUSTION OF ADMINISTRATIVE REMEDIES: Exhaustion of administrative remedies is
required prior to pursuing a civil rights action regarding conditions or events in any prison, jail,
or detention center. 42 U.S.C. § 1997e(a). Plaintiff is warned that any claims for which the
administrative grievance process was not completed prior to filing this lawsuit may be subject
to dismissal.

Qe Appendix One br Admunigkabrve Reedy

Wi. PREVIOUS LAWSUITS:

DC 225 (Rev 2/2012)

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Case 6:14-cv-01249-PGB-T_S Document1 Filed 08/01/14 Page 2 of 8 PagelD 2

A. Have you initiated other lawsuits in state court dealing with the same or similar facts involved
in this action or otherwise relating to your imprisonment or conditions thereof? Yes( )

No ><’)

B. Have you initiated other lawsuits in federal court dealing with the same or similar facts
involved in this action or otherwise relating to your imprisonment or conditions thereof? Yes

(<) No( )

C. \Wyour answer to cither A or B is YES, describe each lawsuit in the space provided below. If
there is more than one lawsuit, describe all additional lawsuits on a separate piece of paper,
using the same format as below.

I. Parties to previous lawsuit:

Plaintifits): Ud Wom & Woyite.

 

Defendant(s); 4) Monn Berags Se Erie Woman j Vena Es\vroge Ronald Sivan
sown Minuer “Sergeant Frederic, Seninde County Clarida,

 

 

 

2. Court (if federal court, name the district; if state court, name the county):
Middle Dictck of Florida,

3. Docket Number: Ww 436

4, Name of judge: “Sudbgg Rresnadt Macyist rate Sreuty

5. Briefly describe the facts and basis of the lawsuit:_“The \augait Covered conditions ot

contine, menk, mar\ CeQu\ations, anda USe, GWA, crise do Ag Cheam.
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6. Disposition (Was the case dismissed? Was it appealed? Is it still pending’):

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7. Approximate filing date: Clay
8. Approximate disposition date: pending
D. Have you initiated lawsuits or appeals from lawsuits in federal court that have been dismissed

as frivolous, malicious or for failure to state a claim upon which relief may be granted? If so,

DC 225 (Rev 2/2012) 2
Case 6:14-cv-01249-PGB-T_S Document1 Filed 08/01/14 Page 3 of 8 PagelD 3

identify these suits below by providing the case number, the style, and the disposition of each
case: Thad asuk in tre Western DukedeeL vas nia dismmisged as Trigalous n 200, “Tde

not have. access tothe dckads.

 

 

PARTIES: In part A of this section, indicate your full name in the first blank and your full mailing
address in the second blank. Do the same for each additional Plaintiff named in the Complaint (if any)
in part B of this section:

A, Name ofPlaintitt: 4d, Niom Menonderdoite

Mailing address: __“Sdnn E-Padle Correckional Facabity Z\\Bush Bud Sanford, FL 37772

 

B. Additional Plaintiffs:

 

 

 

In part C of this section, indicate the full name of the first named Defendant. Also, fill in his or her
mailing address, position, and where he or she is employed. For any additional Defendants, use parts
D through G of this section for the names, addresses, positions and places of employment:

C. Defendant: “Sergeant Fredence

Mailing Address: __2A\ Busy Bud Sond FL 3217

 

 

 

 

 

Position: Deputy Shen -Seragenk
Employedat: Semin, County, Floridcs
D. Defendant: Donated Es\vugr
Mailing Address: Demmde County Sines €eoFice
lod Bush Bud Sanford, ,FL32773

 

DC 225 (Rev 2/2012) 3
Case 6:14-cv-01249-PGB-T_S Document 1 Filed 08/01/14 Page 4 of 8 PagelD 4

 

 

Position: Shen€t
Employed at: Senninde. County Floriber
E. Defendant: Seminde Country Flordba

 

Mailing Address: clo A. Bryan h pheoate, Seaninabe. Counky AYtomney
Work FirskSk, Sonford FL SEIU

 

Position: County Government
Employed at: Salt

F. Defendant:

 

Mailing Address:

 

 

Position:

 

Employed at:

 

G. Defendant:

 

Mailing Address:

 

 

Position:

 

Employed at:

 

DC 225 (Rev 2/2012) 4
Case 6:14-cv-01249-PGB-T_S Document1 Filed 08/01/14 Page 5 of 8 PagelD 5

STATEMENT OF CLAIM: State what rights under the Constitution, laws, or treaties of the United
States have been violated, and be specific. If you intend to allege a number of related claims, set forth
cach claim in a separate paragraph. Any claim that is not related to the same basic incident or
issue must be addressed in a separate Civil Rights Form.

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bid d\quedir MOFEINULAING SUnersisory gebstien, ondestalolished, policies eidn arded nun.

STATEMENT OF FACTS: State as briefly as possible the FACTS of your case. Describe how cach

defendant was involved. Do not make any legal arguments or cite any cases or statutes. State with
as much specificity as possible the facts in the following manner:

Name and position of person(s) involved.

Date(s).

Place(s).

Fact(s) or event(s) giving rise to your claim, including involvement of each defendant.
Nature and extent of injury (i.c., physical injury or how you were harmed by the acts of the
defendant{[s]).

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RELIEF REQUESTED: State briefly what you want the Court to do for you. Again, do not make any
legal arguments or cite any cases or stalutcs.

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Vii.

     

DC 225 (Rev 2/2012)
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I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

05
Signed this_ @™ day of Suly 20.

 

Nall, AUAA
Cian & Gone.

(Signatures of all Plaintiffs)

IF MAILED BY PRISONER:
{ declare (or certify, verify, or affirm) under penalty of perjury that this complaint was (check one):
Gdelivered to prison officials for mailing or Q deposited in the prison’s internal mail on: the 39
day of Vly , 20.14

 

DC 225 (Rev 2/2012) ‘ 7
Case 6:14-cv-01249-PGB-T_S Document1 Filed 08/01/14 Page 8 of 8 PagelD 8

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Praia St
uv. Case Number"
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Defendant Magistale Sent’

 

 

 

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